273 F.3d 843 (9th Cir. 2001)
    WILLIAM GERBER, Plaintiff-Appellant,v.RODERICK HICKMAN, Warden, Defendant-Appellee,
    No. 00-16494D.C. No. CV-99-01315-FCD
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Filed December 4, 2001
    
      Before: MARY M. SCHROEDER, Chief Judge.
    
    ORDER
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    